
82 So. 3d 903 (2011)
Lloyd BROWN, Appellant,
v.
STATE of Florida, Appellee.
Nos. 4D10-3965, 4D10-3966.
District Court of Appeal of Florida, Fourth District.
June 22, 2011.
Edward Hoeg, Fort Lauderdale, for appellant.
No appearance required for appellee.
PER CURIAM.
We sua sponte consolidate appeals 4D10-3965 and 4D10-3966, and we affirm the denial of both motions for relief pursuant to Florida Rule of Criminal Procedure 3.850. See Flores v. State, 57 So. 3d 218 (Fla. 4th DCA 2010). This decision expressly and directly conflicts with Hernandez v. State, 61 So. 3d 1144 (Fla. 3d DCA 2011) (certifying questions and conflict with Flores).
Affirmed.
CIKLIN, GERBER and LEVINE, JJ., concur.
